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 4
 5   Attorney for Defendant, WESLEY SMILEY
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                        )        CASE NUMBER: 1:06-CR-00171-OWW
                                                      )
11                          Plaintiff,                )
                                                      )        STIPULATION AND ORDER FOR A
12                                                    )        RESETTING OF HEARING ON
                                                      )        REPORT OF PROBATION OFFICER
13   v.                                               )
                                                      )
14   WESLEY SMILEY,                                   )        Date:      Monday, May 5, 2008
                                                      )        Time:      10:00 a.m.
15                          Defendant.                )        Courtroom: Honorable Oliver W. Wanger
                                                      )
16
17            IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and
18   the defendant by and through his attorney, that the date set for hearing on the presentence report of the
19   probation officer and sentencing be extended as follows:
20
21                 Defense Counsel’s Informal Objections due to Probation and AUSA:
                   move from April 14, 2008 to June 2, 2008.
22
23                 Formal Objections to be filed with the Court and served on Probation
                   and AUSA: move from April 28, 2008 to June 16, 2008.
24
25                 RPO Hearing: move from May 5, 2008 at 10:00 a.m. to June 23, 2008 at
                   10:00 a.m.
26
27   ///
28   ///
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 1          Further time is needed for defense counsel to review psychological reports that were just
 2   received and to have already approved psychiatric evaluation completed.
 3
 4
 5                                                          Respectfully submitted,
 6
     DATED: April 14, 2008                                  /s/ Salvatore Sciandra
 7                                                          SALVATORE SCIANDRA
                                                            Attorney for Defendant,
 8                                                          WESLEY SMILEY
 9
10   DATED: April 14, 2008                                  /s/ Laurel J. Montoya
                                                            Laurel J. Montoya
11                                                          Assistant United States Attorney
12
13
14                                                  ORDER
15          IT IS SO ORDERED.
16   Dated: April 14, 2008                              /s/ Oliver W. Wanger
     emm0d6                                        UNITED STATES DISTRICT JUDGE
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28
     U.S. v. WESLEY SMILEY
     STIPULATION AND [PROPOSED] ORDER FOR A RESETTING OF HEARING ON REPORT OF PROBATION OFFICER
     CASE NUMBER: 1:06-CR-00171-OWW                                                                 2
